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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF KENTUCKY
                         CENTRAL DIVISION AT FRANKFORT

COMMONWEALTH OF KENTUCKY, ex
rel. ANDY BESHEAR, ATTORNEY
GENERAL,

               PLAINTIFF,                           CIVIL ACTION NO.
                                                    (Removal from Commonwealth of
v.                                                  Kentucky, Franklin Circuit Court,
                                                    Div. II, Civil Action No. 18-CI-00056)
MCKESSON CORPORATION,

               DEFENDANT.


                                   NOTICE OF REMOVAL

         PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331, 1441, 1446, and 1367,

Defendant, McKesson Corporation, by counsel, has removed the above-captioned action from

the Franklin Circuit Court, Franklin County, Kentucky, to the United States District Court for the

Eastern District of Kentucky. As grounds for removal, McKesson states as follows:

                               I. NATURE OF REMOVED ACTION

         1.    On January 22, 2018, the Attorney General of the Commonwealth of Kentucky

(the “KYAG”) filed a Complaint on behalf of the Commonwealth of Kentucky (“Plaintiff”)

against McKesson Corporation (“McKesson” or “Defendant”) in the Franklin Circuit Court,

Division II, Franklin County, Kentucky, captioned Commonwealth of Kentucky, ex rel., Andy

Beshear, Attorney General v. McKesson Corporation. The court assigned the case Civil Action

No. 18-CI-00056.

         2.    Plaintiff complains of over-distribution of prescription opioids into Kentucky.

Plaintiff pleads that McKesson distributed prescription opioids into Kentucky across state lines
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from a federally registered “distribution hub in Washington Courthouse, Ohio, bearing DEA

registration RM0220688.” Compl. ¶ 20.

       3.      The Complaint asserts nine counts: Consumer Protection Act Violation (Count I);

Public Nuisance (Count II); Breach of Statutory Duties/Negligence Per Se (Count III);

Negligence (Count IV); Unjust Enrichment (Count V); Fraud by Omission (Count VI); Medicaid

Fraud KRS Chapter 205 (Count VII); Medicaid Fraud KRS Chapter 194A (Count VIII); and

Punitive Damages (Count IX). Plaintiff seeks declaratory, injunctive, and compensatory relief.

See Compl., Prayer for Relief, at 42-43.

       4.      Although Plaintiff disavows stating a federal question, Compl. ¶ 25, Plaintiff

pleads, inter alia, that the “‘closed’ chain of distribution” under which McKesson operates “was

specifically designed by Congress to prevent the type of diversion and abuse that is complained

of herein,” id. ¶ 42. Plaintiff thus pleads that its claims are based on alleged violations of federal

law, the federal Controlled Substances Act.

       5.      McKesson has not responded to the Complaint in state court.              McKesson’s

response is not due until March 15, 2018, pursuant to a stipulation between McKesson and

Plaintiff that was memorialized in an agreed order entered by the Franklin Circuit Court.

       6.      On December 5, 2017, the Judicial Panel on Multidistrict Litigation (JPML)

formed a multidistrict litigation (MDL) and transferred opioid-related actions to Judge Dan

Aaron Polster in the Northern District of Ohio pursuant to 28 U.S.C. § 1407. See In re Nat’l

Prescription Opiate Litig., MDL No. 2804 (Sept. 25, 2017), Dkt. # 328. McKesson intends to

tag this case immediately for transfer to the MDL.

       7.      In accordance with 28 U.S.C. § 1446(a), copies of the docket sheet and a copy of

all process, pleadings, and orders served upon Defendant in the state court action are attached

hereto as Exhibit A.


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                                    II. TIMELINESS OF REMOVAL

          8.    The KYAG served the Complaint on McKesson via its registered agent for

service of process on January 24, 2018. In accordance with the requirements of 28 U.S.C.

§ 1446(b), this notice of removal is timely filed within thirty (30) days after service of Plaintiffs’

Complaint upon McKesson.

                                     III. PROPRIETY OF VENUE

          9.    Venue is proper in this district and division under 28 U.S.C. § 1441(a), because

the state court where the suit has been pending is located in this district and this division.

                                      IV. BASIS OF REMOVAL

          10.   Removal of this case is proper pursuant to 28 U.S.C. §§ 1441 and 1331 because

Plaintiff’s claims present a federal question under the federal Controlled Substances Act, 21

U.S.C. §§ 801, et seq.

          A.    Plaintiff’s claims facially arise under federal law.

          11.   The original jurisdiction of the district courts includes jurisdiction over “all civil

actions arising under the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.

“Whether a case ‘arises under’ federal law for purposes of § 1331” is governed by the “well-

pleaded complaint rule.” Holmes Grp., Inc. v. Vornado Air Circulation Sys., 535 U.S. 826, 830,

(2002).

          12.   Federal jurisdiction exists when a federal question is presented “on the face of the

plaintiff's properly pleaded complaint.” Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987);

see Loftis v. UPS, 342 F.3d 509, 514 (6th Cir. 2003).

          13.   “[T]he party who brings the suit is master to decide what law he will rely upon.”

The Fair v. Kohler Die & Specialty Co., 228 U.S. 22, 25 (1913). In this case, Plaintiff has

decided to rely upon federal law.


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       14.     Plaintiff pleads that McKesson allegedly violated federal law with, inter alia, the

following allegations:

               a.        “[A] sophisticated, closed distribution system exists to [distribute

                         controlled substances] across the nation,” Compl. ¶ 41 (emphasis added);

               b.        “This ‘closed’ chain of distribution was specifically designed by Congress

                         to prevent the type of diversion and abuse that is complained of herein,”

                         id. ¶ 42;

               c.        “This closed-system of state and federal authority imposes specific duties

                         upon wholesale distributors to monitor, identify, halt and, perhaps most

                         importantly, report suspicious orders of controlled substances. 21 C.F.R.

                         § 1301.74; Masters Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d 206 (D.C.

                         Cir. 2017),” id. ¶ 44 (citing only federal law);

               d.        “Defendant had a legal duty to ensure they were not filling suspicious

                         orders that should have simply been refused. . . . Defendant did not refuse

                         to ship or supply the often abused and highly addictive prescription

                         opioids to Kentucky pharmacies, between 2007 and the present,” id. ¶ 69

                         (referring to legal duty arising only under federal law; see Masters, 861

                         F.3d at 212–13 (citing In re Southwood Pharm., Inc., Revocation of

                         Registration, 72 Fed. Reg. 36,487, 36,501 (DEA July 3, 2007)));

               e.        “Additionally, Defendant knowingly failed to report suspicious orders in

                         Kentucky from 2007 to the present,” id. ¶ 70 (referring to legal duty

                         arising only under federal law); and

               f.        “Specifically, Defendant shipped millions of doses of highly addictive

                         controlled painkillers into Kentucky, many of which should have been


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                         stopped and/or investigated as suspicious orders,” id. ¶ 73 (referring to

                         legal duty arising only under federal law).

        15.    Plaintiff does not identify a state law source for a requirement that wholesale

pharmaceutical distributors identify and report suspicious orders of controlled substances to a

Kentucky governmental official or entity, or a state law source for a requirement that wholesale

pharmaceutical distributors “halt,” “refuse,” “stop and/or investigate[]” suspicious orders of

controlled substances from registered pharmacies.

        16.    Plaintiff thus asserts claims based on McKesson’s alleged violations of legal

duties that arise only under the federal CSA and its implementing regulations with, inter alia, the

following allegations:

               a.        “Defendant failed and refused to comply with the Controlled Substances

                         Acts[1] and the reporting requirements imposed therein by wholly failing to

                         report facially suspicious orders and failing to halt distribution when

                         appropriate,” and “[a]s a result of Defendant’s violations of the Controlled

                         Substances Acts, vis-à-vis failing to report and halt suspicious orders, the

                         Defendant[] per se violated the Kentucky Consumer Protection Act,”

                         Compl. ¶¶ 114-117 (Count I);

               b.        McKesson allegedly created a public nuisance by allegedly “intentionally

                         and/or unlawfully fail[ing] to maintain effective controls against diversion

                         through proper monitoring, distributing opioids without reporting, and

                         refusing to fail to fill suspicious orders,” id. ¶ 126 (Count II);


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  Because Plaintiff never identifies any provision of the Kentucky Controlled Substances Act and its
implementing regulations that contains any requirement analogous to the federal CSA’s Reporting
Requirement or the DEA’s Shipping Requirement, see Masters, 861 F.3d at 212–13, Plaintiff’s references
in its claims to the “Controlled Substances Acts,” plural, and to “state law” are surplusage.


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               c.      “Defendant McKesson was under a duty required by law, to disclose or

                       report orders of unusual size, orders deviating substantially from a normal

                       patter, or orders of unusual frequency,” and McKesson failed to provide

                       the aforementioned reporting required by [federal] law. . . . Further,

                       Defendant admitted to prior violations of the federal Controlled

                       Substances Act,” id. ¶¶ 167-170 (Count VI); and

               d.      “McKesson through its duty to identify and track suspicious orders of

                       prescription drugs, knew or should have known that, as a natural

                       consequence of its actions, the Commonwealth would necessarily be

                       paying for prescription[] opioid that were improperly diverted for non-

                       medically      necessary   and   improper    abuse.   .   .   .   McKesson’s

                       misrepresentations were material because if the Commonwealth had

                       known of McKesson’s failure to comply with state and federal law,

                       McKesson’s license to distribute prescription opioids would have been

                       suspended or not renewed, and, pursuant to both state and federal law, said

                       shipments would not have been made by Defendant,” id. ¶¶ 179-180

                       (Count VII).

       17.     In summary, Plaintiff facially pleads in at least Counts I, II, VI, and VII that those

claims are based on alleged violations of “federal law”—namely, the federal “Controlled

Substances Act.”

       18.     Plaintiffs are indeed the master of their complaint, and they “may avoid federal

jurisdiction by exclusive reliance on state law.” Caterpillar, 482 U.S. at 392 (emphasis added).

Plaintiff chose to explicitly allege violations of federal law as the basis for at least four counts.

Counts I, II, VI, and VII of the Complaint, thus plead a federal question.               Merrell Dow


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Pharmaceuticals, Inc. v. Thompson, 478 U.S. 804, 808 (1986) (the “suit arises under the law that

creates the cause of action”).

       19.     As discussed below, this federal law is a necessary, disputed, and substantial

element of all Plaintiff’s claims and thus presents a substantial federal question, whether or not

Plaintiff had specifically pleaded that it seeks to apply and enforce the federal Controlled

Substances Act. In Counts I, II, VI, and VII, however, federal law is presented “on the face of

[Plaintiffs’] properly pleaded complaint.” Caterpillar, Inc., 482 U.S. at 392; see Lontz v. Tharp,

413 F.3d 435, 439 (4th Cir. 2005) (removal “is appropriate if the face of the complaint raises a

federal question”) (citations omitted); Loftis, 342 F.3d at 514.

       20.     Furthermore, it is not necessary for federal jurisdiction that McKesson establish

that all Plaintiff’s nine counts raise a federal question. Even if Plaintiff could prove one or more

of its nine counts against McKesson without establishing a violation of federal law, this Court

still has federal-question jurisdiction. “Nothing in the jurisdictional statutes suggests that the

presence of related state law claims somehow alters the fact that [the] complaints, by virtue of

their federal claims, were ‘civil actions’ within the federal courts’ ‘original jurisdiction.’” City of

Chicago, 522 U.S. 156, 166 (1997).

       21.     Because the Court has original jurisdiction over Counts I, II, VI, and VII, it has

supplemental jurisdiction over Plaintiff’s other five counts, which are so related that they “form

part of the same case or controversy.” 28 U.S.C. § 1367(a).

       B.      Plaintiff’s claims all depend on a substantial question of federal law.

       22.     Even when state law creates the causes of action, a complaint may raise a

substantial question of federal law sufficient to warrant removal if “the vindication of a right

under state law necessarily turn[s] on some construction of federal law.” Merrell Dow, 478 U.S.

at 808-809; see Gully v. First Nat’l Bank, 299 U.S. 109, 112 (1936) (“To bring a case within


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[§ 1441], a right or immunity created by the Constitution or laws of the United States must be an

element, and an essential one, of the plaintiff’s cause of action.”).

       23.     “[F]ederal jurisdiction over a state law claim will lie if a federal issue is: (1)

necessarily raised, (2) actually disputed, (3) substantial, and (4) capable of resolution in federal

court without disrupting the federal-state balance approved by Congress.” Gunn v. Minton, 568

U.S. 251, 258 (2013) (quotation marks omitted); see Grable & Sons Metal Prods., Inc. v. Darue

Eng’g & Mfg., 545 U.S. 308, 315 (2005); Mikulski v. Centerior Energy Corp., 501 F.3d 555, 568

(6th Cir. 2007). “Where all four of these requirements are met . . . jurisdiction is proper because

there is a ‘serious federal interest in claiming the advantages thought to be inherent in a federal

forum,’ which can be vindicated without disrupting Congress’s intended division of labor

between state and federal courts.” Gunn, 568 U.S. at 258.

       24.     As set forth below, all four requirements are met in this case. Although some of

Plaintiff’s theories of recovery against McKesson ostensibly are pleaded as state law claims, the

underlying theory of liability is expressly premised on McKesson’s alleged violations of federal

law or alleged duties arising out of federal law, specifically, the CSA. McKesson lawfully

distributes prescription opioids to registered pharmacies. Plaintiff complains that McKesson

over-distributed prescription opioids into Kentucky. See, e.g., Compl. ¶ 2. All Plaintiff’s claims

depend on an allegation that some portion of McKesson’s lawful shipments were actually

unlawful because the shipments were of suspicious orders that McKesson allegedly had a duty to

identify, report, and then not ship.

       25.     The source of the asserted legal duty to monitor and report suspicious orders of

controlled substances is the federal CSA, 21 U.S.C. §§ 801, et. seq. and its implementing

regulations. See 21 C.F.R. § 1301.74; Compl. ¶ 44 (citing only 21 C.F.R. § 1301.74 as basis for




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alleged requirement to “identify . . . and, perhaps most importantly, report suspicious orders of

controlled substances”).

       26.     The source of the asserted legal duty to suspend shipments of suspicious orders is

21 U.S.C. § 823(b) and (e), as interpreted by the Drug Enforcement Administration (“DEA”) of

the United States Department of Justice. Specifically, DEA interprets the public interest factors

for registering distributors under the CSA, 21 U.S.C. § 823(b) and (e), to impose a responsibility

on distributors to exercise due diligence to avoid filling suspicious orders that might be diverted

to unlawful uses. See Masters Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d 206, 212-13 (D.C.

Cir. 2017) (citing In re Southwood Pharm., Inc., Revocation of Registration, 72 Fed. Reg.

36,487, 36,501 (DEA July 3, 2007), as source of DEA’s “Shipping Requirement”); Compl. ¶ 44

(citing only Masters decision as basis for alleged requirement to “halt” suspicious orders).

       27.     Plaintiff’s theories of liability against McKesson, as pleaded in the Complaint, are

predicated on allegations that McKesson breached alleged duties under the federal CSA to

implement effective controls to detect and report “suspicious” pharmacy orders for prescription

opioids and not to ship such alleged suspicious orders of controlled substances to Kentucky

pharmacies.    See, e.g., Compl. ¶ 42 (“This ‘closed’ chain of distribution was specifically

designed by Congress to prevent the type of diversion and abuse that is complained of herein.”);

id. ¶ 44 (citing federal law as only source of alleged duties to “to monitor, identify, halt and,

perhaps most importantly, report suspicious orders of controlled substances”); id. ¶ 2 (alleging

that McKesson’s actions “include filling massive and/or ‘suspicious’ orders of unusual size,

orders deviating substantially from a normal pattern, and orders of unusual frequency,” which

quotes 21 C.F.R. § 1301.74(b)); id. ¶¶ 114-117 (alleging that McKesson violated the federal

CSA’s reporting and shipping requirements by “failing to report and halt suspicious orders”); id.

¶ 126 (alleging that McKesson failed to uphold federal duties to “maintain effective controls


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against diversion through proper monitoring, distributing opioids without reporting, and refusing

to fail to fill suspicious orders”); id. ¶¶ 167-170 (alleging that McKesson violated legal duty,

imposed by federal, not Kentucky, law to “to disclose or report orders of unusual size, orders

deviating substantially from a normal pattern, or orders of unusual frequency”); id. ¶¶ 179-180

(alleging that McKesson had a “duty to identify and track suspicious orders of prescription

drugs,” which, again, arises under federal, not Kentucky, law). Plaintiff does not and cannot

identify a state law source for alleged duties to identify, report, and not ship suspicious orders of

controlled substances.2

         28.    The federal question presented by Plaintiff’s claims therefore is “(1) necessarily

raised, (2) actually disputed, (3) substantial, and (4) capable of resolution in federal court without

disrupting the federal-state balance approved by Congress.” Gunn, 568 U.S. at 258.

         29.    First, Plaintiff’s state law claims “necessarily raise” a federal question because

“the right to relief depends upon the construction or application of federal law.” PNC Bank, N.A.

v. PPL Elec. Util. Corp., 189 F. App’x 101, 104 n.3 (3d Cir. 2006); see also Virgin Islands Hous.

Auth. v. Coastal Gen. Constr. Servs. Corp., 27 F.3d 911, 916 (3d Cir. 1994) (“[A]n action under

28 U.S.C. § 1331(a) arises only if the complaint seeks a remedy expressly granted by federal law

or if the action requires construction of a federal statute, or at least a distinctive policy of a

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  Plaintiff’s citations to Kentucky law that purportedly impose reporting requirements on McKesson
nowhere identify state law that actually imposes a requirement on a wholesale distributor. Plaintiff also
cites Kentucky controlled substances law that incorporates federal controlled substances law. See, e.g.,
Compl. ¶ 21. This incorporation of federal law into state law supports the conclusion that Plaintiff’s
claims present a substantial federal question. See, e.g., West Virginia ex rel. McGraw v. Eli Lilly & Co.,
476 F. Supp.2d 230, 233-34 (E.D.N.Y. 2007) (concluding that WVAG’s state-law claims stated
substantial federal question because claimed damages arose from State’s coverage of Zyprexa that was
mandated by federal Medicaid law); In re Pharm. Indus. Average Wholesale Price Litig. (Fla.), 457 F.
Supp.2d 65, 74 (D. Mass. 2006) (remanding action because, inter alia, defendants failed to show that
Florida law incorporated federal definition of “average wholesale price;” finding that lack of evidence
that Florida adopted federal definition meant that same phrase in state law could be defined without
presenting federal question); In re Pharmaceutical Industry Average Wholesale Price Litigation (Ariz.),
457 F.Supp.2d 77, 80 (D. Mass. 2006) (concluding that “the meaning of A[verage] W[holesale] P[rice] in
the federal Medicare statute is a substantial federal issue that properly belongs in federal court”).


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federal statute requires the application of federal legal principles” (emphasis added)); Hardy v.

Medtronic, Inc., 41 F. Supp. 3d 571, 580 (W.D. Ky. 2014) (finding that plaintiff’s state law

claim necessarily raised a federal issue because proving a violation of federal law was essential

to the plaintiff’s case).

        30.     As pleaded, Plaintiff’s claims against McKesson require it to establish that

McKesson breached duties under federal law, including one alleged duty found only in federal

law, by failing to report and stop shipments of otherwise lawful orders of controlled substances

into Kentucky. Therefore, the Complaint necessarily raises a federal issue—namely, whether

McKesson violated the CSA.

        31.     Second, this federal issue is “actually disputed” because the parties disagree as to

whether McKesson violated its duties that arise only under the federal CSA. Indeed, this federal

issue is the “central point of dispute.” Gunn, 568 U.S. at 259.

        32.     Third, the federal issue presented by Plaintiff’s claims is “substantial.” “The

substantiality inquiry under Grable looks . . . to the importance of the issue to the federal system

as a whole.” Gunn, 568 U.S. at 260. Among other things, the Court must assess whether the

federal government has a “strong interest” in the federal issue at stake and whether allowing state

courts to resolve the issue will “undermine the development of a uniform body of [federal] law.”

Id. at 260, 262 (quotation marks omitted). As the Supreme Court explained in Grable, “[t]he

doctrine captures the commonsense notion that a federal court ought to be able to hear claims

recognized under state law that nonetheless turn on substantial questions of federal law, and thus

justify resort to the experience, solicitude, and hope of uniformity that a federal forum offers on

federal issues.” 545 U.S. at 312.

        33.     Plaintiff’s theories of McKesson’s liability necessarily require that a court

determine the scope of McKesson’s obligations under federal law.              As Plaintiff pleads,


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regulation of controlled substances is first and foremost federal regulation: the “‘closed’ chain of

distribution” under which McKesson operates “was specifically designed by [the United States]

Congress to prevent the type of diversion and abuse that is complained of herein.” Compl. ¶ 42;

see id. ¶ 41 (pleading that a “sophisticated, closed distribution system exists to [distribute

controlled substances] across the nation”) (emphasis added); id. ¶ 20 (pleading that McKesson’s

distribution into Kentucky was across state lines from a DEA-registered facility in Ohio).

Indeed, the Congress designed the CSA with the intention of reducing illegal diversion of

controlled substances, “while at the same time providing the legitimate drug industry with a

unified approach to narcotic and dangerous drug control.” 1970 U.S.C.C.A.N. 4566, 4571-72

(emphasis added).

         34.    Plaintiff’s theories of McKesson’s liability thus “involve aspects of the complex

federal regulatory scheme applicable to” the national prescription drug supply chain, Broder v.

Cablevision Sys. Corp., 418 F.3d 187, 195 (2d Cir. 2005), and are “sufficiently significant to the

development of a uniform body of [controlled substances] regulation to satisfy the requirement

of importance to the federal system as a whole,” NASDAQ OMX Grp., Inc. v. UBS Sec., LLC,

770 F.3d 1010, 1024 (2d Cir. 2014).3 Furthermore, “minimizing uncertainty over” reporting

obligations under the CSA “fully justifies resort to the experience, solicitude, and hope of

uniformity that a federal forum offers on federal issues.” New York ex rel. Jacobson v. Wells

Fargo Nat’l Bank, N.A., 824 F.3d 308, 317-18 (2d Cir. 2016); see also PNC Bank, N.A., 189 F.


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  The Commonwealth’s attempt to enforce the CSA raises a substantial federal question, even though the
CSA does not provide for a private right of action. In 2005 in Grable, the U.S. Supreme Court
specifically held that the lack of a federal cause of action does not foreclose federal-question jurisdiction.
The Court stated that applying Merrell Dow too narrowly would both “overturn[ ] decades of precedent,”
and “convert[ ] a federal cause of action from a sufficient condition for federal-question jurisdiction into a
necessary one.” Grable, 545 U.S. at 316; see also, e.g., Ranck v. Mt. Hood Cable Regulatory Comm’n,
2017 WL 1752954, at *4-*5 (D. Or. May 2, 2017) (state law claims based on violations of Cable
Communications Policy Act raise substantial federal question and satisfy Grable even though no private
right of action exists under the Act).


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App’x at 104 n.3 (plaintiff’s state law claim “raises a substantial federal question-the

interpretation of” a federal statute “over which the District Court properly exercised removal

jurisdiction”).

         35.      Removal is particularly appropriate here because Plaintiff’s action is but one of

more than 400 similar actions nationwide, most of which now are pending in an MDL in the

Northern District of Ohio. The actions consolidated in the MDL include at least 43 similar

actions brought originally in federal court by Kentucky counties and municipalities, some of

which appear as examples in the Commonwealth’s complaint. See Compl. ¶¶ 54-60 (alleging

over-distribution to, inter alia, Perry, Clay, and Bell counties, which are federal court plaintiffs).

As Plaintiff pleads, the “opioid epidemic” is a “nationwide” problem. Compl. ¶ 5 (citing article

titled Opioid Epidemic in the United States). Judge Polster has dedicated his initial efforts

presiding over the MDL to immediately achieving solutions to this nationwide problem.4

         36.      Fourth, the federal issue also is capable of resolution in federal court “without

disrupting the federal-state balance approved by Congress.” Gunn, 568 U.S. at 258. Federal

courts exclusively hear challenges to DEA authority to enforce the federal CSA against

distributors, and litigating this case in a state court runs the risk of the state court applying

federal requirements inconsistently with the manner in which the federal agency tasked with

enforcing the CSA—DEA—applies them. Furthermore, Plaintiff seeks, inter alia, to “stop

McKesson from fulfilling suspicious orders for opioids” and to “enjoin” McKesson. Compl.

¶ 15; see id. Prayer for Relief at 42-43. The CSA vests federal courts with jurisdiction over

proceedings seeking to enjoin violations of the CSA. See 21 U.S.C. § 882(a) (“The district


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  Less than two months after the MDL was created, Judge Polster convened the first day-long settlement
conference on January 31, 2018. Judge Polster required attendance by party representatives and their
insurers and invited attendance by Attorneys General and representatives of the DEA and FDA. Attorney
General Beshear participated in the MDL settlement conference on January 31, 2018.


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courts of the United States and all courts exercising general jurisdiction in the territories and

possessions of the United States shall have jurisdiction in proceedings . . . to enjoin violations of

this subchapter.”). Thus, federal courts already are the primary forum for determining the

permissible scope of restraints on distributors under the federal CSA. Plaintiff’s Complaint

presents these precise questions; again, the federal CSA is the only statutory scheme referenced

in the Complaint that contains “suspicious order” regulations. Federal jurisdiction is therefore

“consistent with congressional judgment about the sound division of labor between state and

federal courts governing the application of § 1331.” PNC Bank, N.A., 189 F. App’x at 104 n.3.

       37.     In summary, removal of this action is appropriate, because Plaintiffs’ “state-law

claim[s] necessarily raise a stated federal issue, actually disputed and substantial, which a federal

forum may entertain without disturbing any congressionally approved balance of federal and

state judicial responsibilities.”   Grable, 545 U.S. at 314; see also, e.g., New York ex rel.

Jacobson v. Wells Fargo Nat’l Bank, NA, 824 F.3d 308, 315–18 (2d Cir. 2016) (state law claims

based on defendant’s alleged violation of Internal Revenue Code satisfy Grable); NASDAQ OMX

Grp., Inc. v. UBS Sec., LLC, 770 F.3d 1010, 1031 (2d Cir. 2014) (state law claims premised on

violations of Exchange Act “necessarily raise disputed issues of federal law of significant

interest to the federal system as a whole”); Gilmore v. Weatherford, 694 F.3d 1160, 1176 (10th

Cir. 2012) (“Although plaintiffs could lose their conversion claim without the court reaching the

federal question, it seems that they cannot win unless the court answers that question. Thus,

plaintiffs’ “right to relief necessarily depends on resolution of a substantial question of federal

law.”) (citation omitted); Broder, 418 F.3d at 196 (state law claims premised on cable provider’s

alleged violations of the Communication Act’s uniform rate requirement satisfy “the Grable test

for federal-question removal jurisdiction”); PNC Bank, N.A. v. PPL Elec. Util. Corp., 189 F.

App’x 101, 104 n.3 (3d Cir. 2006) (state law claim based on violation of Internal Revenue Code


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“gives rise to federal-question jurisdiction” under Grable); Ranck v. Mt. Hood Cable Regulatory

Comm’n, 2017 WL 1752954, at *5 (D. Or. May 2, 2017) (state law claims based on violations of

Cable Communications Policy Act satisfy Grable).

       38.     To the extent that the Court determines that some, but not all, Plaintiffs’ counts in

the Amended Complaint state a substantial federal question, it has supplemental jurisdiction over

the counts determined not to state a substantial federal question, which are so related that they

“form part of the same case or controversy.” 28 U.S.C. § 1367(a).

                                  IV. OTHER REMOVAL ISSUES

       39.     Pursuant to 28 U.S.C. § 1446(d), McKesson will promptly file a copy of this

Notice of Removal with the clerk of the state court where the suit has been pending and serve

notice of the filing of this Notice of Removal on Plaintiffs’ counsel.

       40.     McKesson files this Notice of Removal without waiving any defenses to the

claims asserted by Plaintiffs.

       41.     McKesson reserves the right to amend or supplement this Notice.



       WHEREFORE, McKesson removes this action, now pending in the Franklin Circuit

Court, Division II, Franklin County, Kentucky, as Civil Action No. 18-CI-00056 to this Court.

       Dated this the 23rd day of February, 2018.




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                                         Respectfully submitted,


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                                         Counsel for Defendant, McKesson Corporation


                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing was served via United States
first-class mail this 23rd day of February, 2018, upon the following:

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       Elizabeth Natter                           Brian C. Thomas
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